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                    3   Nevada Bar No. 9953
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                    4   Public Safety Division
                        100 N. Carson Street
                    5   Carson City, NV 89701-4717
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                    6   E-mail: ealbright@ag.nv.gov
                    7   Attorneys for Defendant Ira Brannon
                    8                                   UNITED STATES DISTRICT COURT

                    9                                           DISTRICT OF NEVADA

               10       JOSEPH L. MIZZONI,
                                                                                     Case No. 3:15-cv-00499-MMD-WGC
               11                              Plaintiff,

               12       vs.                                                         REPORT OF THE OFFICE OF THE
                                                                                       ATTORNEY GENERAL RE:
               13       STATE OF NEVADA, et al.,                                     RESULTS OF THE 90-DAY STAY

               14                              Defendants.

               15       NOTE: ONLY THE OFFICE OF THE ATTORNEY GENERAL SHALL FILE THIS FORM.
                        THE INMATE PLAINTIFF SHALL NOT FILE THIS FORM
               16
               17              On March 2, 2016, the court issued its screening order stating that it had conducted its screening

               18       pursuant to 28 U.S.C. § 1915A, and that certain specified claims in this case would proceed. The court

               19       ordered the Office of the Attorney General of the State of Nevada to file a report ninety (90) days after

               20       the date of the entry of the court’s screening order to indicate the status of the case at the end of the 90-

               21       day stay. By filing this form, the Office of the Attorney General herby complies.

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               27       ///

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  Office of the
Attorney General
100 N. Carson St.
Carson City, NV
   89701-4717                                                                1
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                    1                                              REPORT FORM
                    2   [Identify which of the following two situations (identified in bold type) describes the case, and follow
                        the instructions corresponding to the proper statement.]
                    3
                    4   Situation One: Mediated Case: The case was assigned to mediation by a court-appointed
                        mediator during the 90-day stay. [If this statement is accurate, check ONE of the six statements
                    5   below and fill in any additional information as required, then proceed to the signature bloc.]
                    6         ____     A mediation session with a court-appointed mediator was held on ___ and as of this
                                       date, the parties have reached a settlement (even if paperwork to memorialize the
                    7                  settlement remains to be completed). (If this box is checked, the parties are on notice
                                       that they must SEPARATELY file either a contemporaneous stipulation of dismissal or
                    8                  a motion requesting that the court continue the stay in the case until a specified date
                                       upon which they will file a stipulation of dismissal.)
                    9
                              __X__    A mediation session with a court-appointed mediator was held on _12/6/2016__, and as
               10                      of this date, the parties have not reached a settlement. The Office of the Attorney
                                       General therefore informs the court of its intent to proceed with this action.
               11
                              _____    No mediation session with a court-appointed mediator was held during the 90-day stay,
               12                      but the parties have nevertheless settled the case. (If this box is checked, the parties are
                                       on notice that they must SEPARATELY file a contemporaneous stipulation of dismissal
               13                      or a motion requesting that the court continue the stay in this case until a specified date
                                       upon which they will file a stipulation of dismissal.)
               14
                              _____    No mediation session with a court-appointed mediator was held during the 90-day stay,
               15                      but one is currently scheduled for ____ .
               16             _____    No mediation session with a court-appointed mediator was held during the 90-day stay,
                                       and as of this date, no date certain has been scheduled for such a session.
               17
                              _____    None of the above five statements describes the status of this case. Contemporaneously
               18                      with the filing of this report, the Office of the Attorney General of the State of Nevada is
                                       filing a separate document detailing the status of this case.
               19
                        Situation Two: Informal Settlement Discussions Case: The case was NOT assigned to mediation
               20       with a court-appointed mediator during the 90-day stay; rather, the parties were encouraged to
                        engage in informal settlement negotiations. [If this statement is accurate, check ONE of the four
               21       statements below and fill in any additional information as required, then proceed to the signature bloc.]
               22             _____    The parties engaged in settlement discussions and as of this date, the parties have
                                       reached a settlement (even if the paperwork to memorialize the settlement remains to be
               23                      completed). (If this box is checked, the parties are on notice that they must
                                       SEPARATELY file either a contemporaneous stipulation of dismissal or a motion
               24                      requesting that the court continue the stay in this case until a specified date upon which
                                       they will file a stipulation of dismissal.)
               25
                              _____    The parties engaged in settlement discussions and as of this date, the parties have not
               26                      reached a settlement. The office of the Attorney General therefore informs the court of
                                       its intent to proceed with this action.
               27
               28       ///
  Office of the
Attorney General
100 N. Carson St.
Carson City, NV
   89701-4717                                                               2
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                    1      ____      The parties have not engaged in settlement discussions and as of this date, the parties
                                     have not reached a settlement. The office of the Attorney General therefore informs the
                    2                Court of its intent to proceed with this action.
                    3      _____     None of the above three statements fully describes the status of this case.
                                     Contemporaneously with the filing of this report, the Office of the Attorney General of
                    4                the State of Nevada is filing a separate document detailing the status of this case.
                    5
                              Submitted this 9th day of December, 2016 by:
                    6
                        Attorney Name: Erin L. Albright                     _____________________________
                    7                                                                   Signature
                    8   Address:     Office of the Attorney General              Phone: (775) 684-1257
                                     Bureau of Litigation                        Email: ealbright@ag.nv.gov
                    9                Public Safety Division
                                     100 N. Carson Street
               10                    Carson City, NV 89701-4717
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  Office of the
Attorney General
100 N. Carson St.
Carson City, NV
   89701-4717                                                           3
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                    1                                     CERTIFICATE OF SERVICE
                    2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
                    3   on this 9th day of December, 2016, I caused to be deposited for mailing a true and correct copy of the
                    4   foregoing, REPORT OF THE OFFICE OF THE ATTORNEY GENERAL RE: RESULTS OF
                    5   THE 90-DAY STAY, to the following:
                    6   Joseph L. Mizzoni #68549
                        High Desert State Prison
                    7   P.O. Box 650
                    8   Indian Springs, NV 89070

                    9
               10
                                                                              _____________________________
               11                                                             An employee of the
                                                                              Office of the Attorney General
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  Office of the
Attorney General
100 N. Carson St.
Carson City, NV
   89701-4717                                                             4
